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MAR 28 2023
United States Court of Appeals | guer«,u.s. DISTRICT
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FIFTH CIRCUIT DISTRICT OF; Ss
OFFICE OF THE CLERK ay
LYLE W. CAYCE TEL. 504-310-77ME PU TY
CLERK 600 S. MAESTRI PLACE,
Suite 115

NEW ORLEANS, LA 70130

March 23, 2023

Ms. Kathleen Theresa Hunker

Office of the Attorney General of Texas
Special Litigation Unit

P.O. Box 12548

(MC-009)

Austin, TX 78711-2548

No. 23-50201 La Union del Pueblo v. Bettencourt
USDC No. 5:21-CV-844-X2

Dear Ms. Hunker,

We have docketed the appeal and ask you to use the case number
above in future inquiries.

Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure. We cannot accept motions submitted under
the Federal Rules of Civil Procedure. We can address only those
documents the court directs you to file, or proper motions filed

in support of the appeal. See FED. R.App.P. and 5TH CIR. R. 27 for
guidance. Documents not authorized by these rules will not be
acknowledged or acted upon.

You must complete a transcript order form, which can be obtained
from the court’s website www.ca5.uscourts.gov. If you are required
to electronically file, you must, file the form via the 5th
Circuit’s Electronic Document Filing System even if the form was
filed with the district court, and make financial arrangements
with the court reporter. See also 5TH CiR. R. 30.1.2 and 5TH CIR.

R. 31.1 to determine if you have to file electronically. When
completed, this meets your obligation to order the necessary
portions of the court reporter’s transcript, see FED. R. App. P.
10(b). (If you are pro se and unable to afford payment, you must
file a motion with the district court requesting transcript at
government expense, and notify this court.) We will coordinate
the transcript deadlines with the court reporter. The court
reporter should contact you directly if an extension of time to
file the transcript is granted. Failure to complete the transcript
order form and make financial arrangements with the court reporter
within 15 days will result in dismissal of the appeal in accordance
with the rules.

 

 
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We will provide you information about the briefing schedule of
this appeal at a later date. If a transcript is unnecessary,
please complete the section on the transcript order form to
indicate such and we will start the briefing schedule. 5TH CIR.
R. 31.4 and the Internal Operating Procedures following rules 27
and 31 state that except in the most extraordinary circumstances,
the maximum extension for filing briefs is 30 days in criminal
cases and 40 days in civil cases.

All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see FED. R. APP. P. 12 (b)
and 5TH Cir. R. 12. This form is available on our website
www.ca5.uscourts.gov. Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.

ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information on Electronic Case Filing 1s available at
www.ca5.uscourts.gov/cmecf/.

ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available. Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.

 

Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.

We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the Sth Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.

 

ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court’s
electronic filing systems. Details explaining how you can request
this are available on the Fifth Circuit website at
http: //www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.

 
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Special guidance regarding filing certain documents:

General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.

A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.

 

Seating Documents on Appeal: Our court has a strong presumption
Of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket. Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding. It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary. An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.

Sincerely,
LYLE W. CAYCE, Clerk

Foca

By:
Roeshawn Johnson, Deputy Clerk
504-310-7998

 

cc: Mr. Philip Devlin
Mr. Jason Scott Kanterman
Mr. Sean Morales-Doyle
Ms. Nina Perales
Ms. Elizabeth Ryan

 
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

Case No. 23-50201

La Union del Pueblo Entero; Friendship-West Baptist Church;

Southwest Voter Registration Education Project; Texas Impact;

Mexican American Bar Association of Texas; Texas Hispanics

Organized for Political Education; JOLT Action; William C.

Velasquez Institute; James Lewin; Fiel Houston, Incorporated,
Plaintiffs - Appellees

Vv.

Gregory W. Abbott, in his Official Capacity as Governor of
Texas, Et al,

Vv.
Senator Paul Bettencourt; Representative Briscoe Cain,

Appellants

 
